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                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                              ORLANDO DIVISION


  SuperCooler Technologies, Inc.,

                             Plaintiff,

                        v.                     Case No. 6:23-cv-00187-CEM-RMN

  The Coca-Cola Company,

                             Defendant.


       THE COCA-COLA COMPANY’S MOTION TO DISQUALIFY THE
        PAUL HASTINGS LAW FIRM, BRADLEY BONDI, MICHAEL
       WHEATLEY AND VITALIY KATS, AS COUNSEL FOR PLAINTIFF

  I.     Introduction

         Large, sophisticated law firms rarely find themselves directly adverse to an

 existing client. But that is exactly the situation that Paul Hastings has created here.

 Paul Hastings represents The Coca-Cola Company (“Coca-Cola”) on a number of

 matters, and simultaneously has decided to take on representation of SuperCooler

 Technologies, Inc. (“SCTI”) in this $100 million contingency-fee case. Over the last

 two weeks, Bradley Bondi, Michael Wheatley and Vitaliy Kats (“The Paul Hastings

 Attorneys”), counsel in the present matter, joined Paul Hastings and brought this

 lawsuit with them. Without notifying its client, Coca-Cola, Paul Hastings filed

 Change of Law Firm notices and sought to add an additional Paul Hastings litigation

 partner to this case. Paul Hastings intentionally concealed this conflict, then when

 asked by Coca-Cola to withdraw as counsel for SCTI to remedy the conflict Paul

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 Hastings itself created, the firm flatly refused.

         Paul Hastings abandoned its ethical obligations in managing this situation. It

 made no attempt to notify Coca-Cola of the conflict. It made no attempt to request a

 waiver prior to Coca-Cola discovering this conflict. Instead, once its conduct was

 discovered, Paul Hastings’ response—a response endorsed by its General Counsel,

 Mark Pollack—was to instruct its Coca-Cola relationship partner to close out all

 matters if Coca-Cola would not grant a waiver of conflicts in this case.

         Understanding that its conduct and General Counsel’s instructions violated its

 ethical obligations to Coca-Cola and contravene Florida’s “hot potato rule,” Paul

 Hastings pivoted from its original position. Pointing to an advance waiver provision

 that was included in an engagement letter for a specific and unrelated matter, Paul

 Hastings’ position now is that Coca-Cola waived the present conflict. Coca-Cola

 vehemently disagrees. Paul Hastings is attempting to skirt its ethical obligations and

 justify its representation of a new client in a highly contentious suit against Coca-Cola,

 while also purporting to zealously defend Coca-Cola’s interests in other existing

 matters.

         Pursuant to Local Rule 2.01(d) and Florida Rule of Professional Conduct 4-1.7,

 Coca-Cola moves to disqualify the Paul Hastings law firm, Bradley Bondi, Michael D.

 Wheatley, and Vitaliy Kats as counsel for SCTI in this case.

 II.     Factual Background

         On February 1, 2023, SCTI filed a 47 page, nine-count Complaint against Coca-

 Cola alleging, inter alia, breach of contract, trade secret misappropriation, and various
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 related causes of action. (Doc. 1). Mr. Bondi, Mr. Wheatley, and Mr. Kats, then at

 Cahill Gordon & Reindel, each signed the Complaint, along with a fourth attorney

 from Cahill and an attorney from McIntyre Thanasides Bringgold Elliott Grimaldi

 Guito & Matthews, P.A.

         This is not the first time Coca-Cola has encountered SCTI. Over the last four

 years, SCTI has reached out to Coca-Cola with increasingly speculative and

 outrageous demands, each time with a new firm that they have convinced to take on

 their case. Cahill, and now Paul Hastings, are the third and fourth law firms that have

 represented SCTI in this dispute. The parties mediated this matter unsuccessfully

 more than two years ago.         Unhappy that Coca-Cola would not bend to their

 outrageous demands, and after two years of silence, SCTI found new counsel in Cahill

 who filed the present lawsuit.

         The Complaint in this case is replete with inflammatory and baseless

 accusations about Coca-Cola’s alleged dishonesty and unethical business practices. It

 alleges Coca-Cola engaged in “a series of dishonest and deceptive practices” (Doc. 1

 at ¶¶ 11, 34), that it “violated the duties of care and loyalty” to its alleged “partner”

 SCTI (Doc. 1 at ¶¶ 11, 114), that Coca-Cola participated in a “ruse” to defraud and

 steal the intellectual property of another company (Doc. 1 at ¶ 69), and that Coca-Cola

 violated its own Code of Business Conduct. (Doc. 1 at ¶¶ 48, 101). The Complaint

 also contains unsubstantiated allegations accusing Coca-Cola executives (including

 Coca-Cola’s Chief Executive Officer) of fraudulent and dishonest conduct. (Doc. 1 at

 ¶¶ 44, 54, 73-74, 141). The Complaint repeats Coca-Cola’s alleged lack of “integrity,”
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 “honesty,” and “respect” ad nauseum. (See Doc, 1 at ¶¶ 48, 101).1

           Paul Hastings, now counsel of record, believes it is appropriate and permissible

 for it to be making these allegations against an existing client. The firm has represented

 Coca-Cola for years, including various sensitive matters with respect to international

 human rights concerns. Lewis Decl., Aff. A, ¶ 3. SCTI’s dispute with Coca-Cola is

 an obvious conflict that undoubtedly should have been identified months ago during

 Paul Hastings’ interview and onboarding process of the incoming Paul Hastings

 Attorneys.2

           Not once did Paul Hastings mention this conflict or request a waiver from Coca-

 Cola. Instead, correctly assuming that Coca-Cola would never grant a conflict waiver

 for such a contentious case, the Paul Hastings Attorneys sought to slip this conflict by

 Coca-Cola without any disclosure of the conflict they created. Coca-Cola was first

 alerted to this conflict when Paul Hastings had its most junior lawyer involved ask

 Coca-Cola’s outside counsel if there would be any objection to the pro hac vice

 admission of another Paul Hastings attorney, Jeff Pade. Ex. 6. Paul Hastings did not

 mention its current representation of Coca-Cola and the conflict Paul Hastings had

 created, and it did not reach out to any of the in-house Coca-Cola attorneys working

 on matters with Paul Hastings. Instead, Paul Hastings had an associate make a request

 to Coca-Cola’s outside counsel, who would have had no knowledge of Paul Hastings’

 representation of Coca-Cola in other matters. Shortly after this request was made, and


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     Coca-Cola vehemently denies the allegations made in SCTI’s Complaint.
 2
     Coca-Cola received a demand letter from Cahill on behalf of SCTI in early November of 2022.
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 before receiving any response from Coca-Cola, Paul Hastings unilaterally submitted

 Notices of Change of Law Firm Association to this Court.

         The details of how Coca-Cola learned of this conflict are important and laid out

 as follows:

         March 27 (afternoon): Mr. Kats informed Coca-Cola’s outside counsel that he

 and Mr. Wheatley were now at Paul Hastings, that they had updated their ECF

 information and would file a Notice of Change of Law Firm Affiliation. Ex. 6.3 Mr.

 Kats asked for Coca-Cola’s consent on a pro hac vice motion for Jeff Pade, a Paul

 Hastings litigation partner. Id. Twenty-four minutes after sending this e-mail, and

 without having received a response from Coca-Cola, Mr. Kats filed the Change of Law

 Firm Affiliation. (Doc. 28).

         March 27 (evening): Counsel for Coca-Cola informed Mr. Kats that he was not

 authorized to consent to Paul Hastings’ representation of SCTI, and that there might

 be an issue with the representation. Ex. 7.

         March 28: In-House Counsel at Coca-Cola, Jessica Lewis, emailed Jon

 Drimmer, Coca-Cola’s relationship partner at Paul Hastings, requesting a call to

 discuss this conflicts issue. Mr. Drimmer and Ms. Lewis spoke and Mr. Drimmer was

 seemingly unaware of this conflict. Lewis Decl., Aff. A, ¶ 7. Ms. Lewis made clear

 that Coca-Cola considered the situation a conflict and would not be granting a waiver.

 Mr. Drimmer agreed that Coca-Cola should not waive conflicts and rhetorically


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  At this point, Coca-Cola was still unaware that Mr. Bondi would move to Paul Hastings within the
 next few days.
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 questioned, “why would you?” Id. Less than thirty minutes later, Mr. Drimmer asked

 Ms. Lewis to call him. On this second call, Mr. Drimmer said he had spoken with the

 firm’s General Counsel, Mark Pollack, who told Mr. Drimmer that if Coca-Cola

 would not grant Paul Hastings a waiver, Mr. Drimmer had been told to close all

 Coca-Cola matters. Id., ¶ 8. Disappointed by this response, Ms. Lewis expressed her

 dismay that Paul Hastings would effectively “fire” an existing client to represent SCTI.

 Mr. Drimmer expressed his surprise as well, and further noted his surprise that Paul

 Hastings would take on such a contingency-fee type case. Id. Ms. Lewis followed up

 these phone calls with an email confirming Coca-Cola’s position that no waiver was

 being granted, and requesting that Paul Hastings withdraw from the SCTI lawsuit.

 Ex. 2. Later that evening, Mr. Drimmer requested another call. On this third call,

 Mr. Drimmer informed Coca-Cola that Paul Hastings would be relying on a previous

 engagement letter that included an advance waiver in taking the position that

 Coca-Cola had waived the present conflict. Lewis Decl., Aff. A, ¶ 10. At Ms. Lewis’

 request, Mr. Drimmer provided her with a copy of the engagement letter. Ex. 3.

         A previously-scheduled meet and confer regarding the parties’ Case

 Management Report also occurred on March 28. By this point, Coca-Cola had

 notified Paul Hastings of its position that a conflict existed and no waiver had been

 granted. Nevertheless, Mr. Kats and Mr. Wheatley, now at Paul Hastings, dialed into

 that call. Counsel for Coca-Cola again stated Coca-Cola’s position that Paul Hastings’

 representation of SCTI is an active conflict, and that Coca-Cola’s counsel would not

 continue with the meet-and-confer with Paul Hastings lawyers on the line. Mr.
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 Wheatley and Mr. Kats exited the call. Garretson Decl., Aff. B, ¶ 7. Mr. Bondi

 proceeded to conduct the meet and confer with Coca-Cola’s counsel—failing to

 mention that he too would be joining Paul Hastings within the next few days.

         March 29:        Still unaware that Mr. Bondi was moving to Paul Hastings,

 Coca-Cola had another meet-and-confer with Mr. Bondi and continued to correspond

 via email regarding the Joint Case Management Report (Doc. 29), Coca-Cola’s

 Motion to Compel Arbitration (Doc. 32) and Motion to Dismiss (Doc. 33). Garretson

 Decl., Aff. B, ¶ 8. At no point did the Paul Hastings Lawyers, Mr. Bondi, or Paul

 Hastings through its Coca-Cola relationship partner or General Counsel disclose that

 Mr. Bondi was also moving to Paul Hastings and intended to continue his

 representation of SCTI. Id.

         March 31: Ms. Lewis again confirmed by email that Coca-Cola viewed Paul

 Hastings’ involvement as a conflict, and explained that Coca-Cola disagreed that a

 two-year-old engagement letter on an unrelated issue, containing no client-specific or

 subject matter information, constituted informed consent, consultation, or waiver of

 the conflict. Ex. 2.4 Paul Hastings’ General Counsel, Mark Pollack, contacted Ms.

 Lewis directly in response and reiterated Paul Hastings’ position that the March 2021

 engagement letter between Paul Hastings and Coca-Cola represented a waiver of all


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    Indeed, Coca-Cola’s outside counsel guidelines explicitly state that Coca-Cola does not grant
 advance conflict waivers, and that the Company insists upon full prior disclosure and prior written
 approval of any actual or potential conflict of interest. If a waiver is to be granted in such limited, full
 disclosure circumstances, the guidelines further state that the waiver must first be approved by the Chief
 Legal Officer & General Counsel or the Chief Litigation Counsel of Coca-Cola. Lewis Decl., Aff. A,
 ¶ 5. Coca-Cola provides these guidelines to all of its outside legal vendors, including Paul Hastings,
 as part of its billing and invoicing platform.
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 future conflicts, and stated that Mr. Wheatley and Mr. Kats would not withdraw from

 their representation of SCTI. Ex. 4.

         April 3: Coca-Cola’s Senior Vice President and General Counsel, Monica

 Howard Douglas, reached out to William K. Whitner (Paul Hastings’ Global Vice-

 Chair of Litigation), Sherrese Smith (Paul Hastings’ Managing Partner), and Mr.

 Pollack again requesting that Paul Hastings withdraw as counsel.          Mr. Pollack

 responded on behalf of Paul Hastings, reiterating the firm’s position. Ex. 5. This same

 day, Coca-Cola learned that Mr. Bondi had also moved to Paul Hastings through a

 Law360 article. No one at Paul Hastings, including Mr. Pollack, mentioned this

 further conflict to Coca-Cola. Ex. 8; Garretson Decl., Aff. B, ¶¶ 8-9.

         April 5: Mr. Bondi unilaterally submitted his own Notice of Change of Law

 Firm Affiliation to this Court. (Doc. 35).

         This presents an extraordinary circumstance. Paul Hastings now claims it can

 continue to represent Coca-Cola in its existing matters, while simultaneously pursuing

 a purported $100 million lawsuit against its own client.         Paul Hastings knew

 Coca-Cola would never voluntarily consent to such a representation and deliberately

 did not inform Coca-Cola of the conflict, nor try to obtain informed consent. Instead,

 shockingly, Paul Hastings withheld information about the conflict. It clandestinely

 sought and received a waiver from SCTI, had its attorneys file unilateral notices with

 this Court, and further had those attorneys contact Coca-Cola’s outside counsel to

 seek consent for the pro hac vice admission of yet another Paul Hastings attorney.

         Paul Hastings should not be permitted to profit from this duplicitous and
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 fundamental violation of its duty of loyalty to Coca-Cola, and its lack of candor with

 its own client.

III.     Legal Standard

         Although they implicate ethical concerns, “motions to disqualify are

 substantive motions affecting the rights of the parties.” Herrmann v. GutterGuard, Inc.,

 199 F. App’x 745, 752 (11th Cir. 2006). Disqualification motions are governed by two

 sources of authority—federal common law and local rules of the court. Id. The party

 moving to disqualify counsel bears the burden of proving the grounds for

 disqualification. In re BellSouth Corp., 334 F.3d 941, 961 (11th Cir. 2003). The Local

 Rules of this Court incorporate the Florida Rules of Professional Conduct. M.D. Fla.

 L.R. 2.01(d).

         Florida Rule of Professional Conduct 4-1.7 precludes attorneys from

 representing two parties if the representation of one client will be directly adverse to

 another client unless, among other things, “each affected client gives informed

 consent, confirmed in writing or clearly stated on the record at a hearing.” Fla. R.P.C.

 4-1.7(b)(4).5 In the context of corporate clients, “a lawyer representing an enterprise

 with diverse operations may accept employment as an advocate against the enterprise

 in an unrelated matter if doing so will not adversely affect the lawyer’s relationship



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   The Florida Rules of Professional Conduct consider a representation to be “directly adverse” to a
 client where a lawyer “act[s] as advocate against a person the lawyer represents in some other matter,
 even if it is wholly unrelated.” Fla. R.P.C. 4-1.7 cmt. This adversity is not limited solely to the
 individual lawyers appearing on a particular matter. Under the Rules, no lawyer associated in a firm
 “may knowingly represent a client where any one of them practicing alone would be prohibited from
 doing so” by Rule 4-1.7. Fla. R.P.C. 4-1.10(a).
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 with the enterprise or conduct of the suit and if both clients consent upon

 consultation.”    Fla. R.P.C. 4-1.7 (official comments).         The rules further define

 informed consent as the “agreement by a person to a proposed course of conduct after

 the lawyer has communicated adequate information and explanation about the

 material risks of and reasonably available alternatives to the proposed course of

 conduct.” Fla. R.P.C. 4 (preamble).

         A court may disqualify an attorney for ethical violations based on their local

 rules and federal common law. Hermann v. GutterGuard, Inc., 199 F. App’x 745, 752

 (11th Cir. 2006). While a “harsh sanction,” courts may disqualify counsel where there

 are “compelling reasons” to do so. Id. (quoting In re: BellSouth Corp., 334 F.3d 941,

 961 (11th Cir.2003). Violation of an applicable rule of professional conduct is a

 compelling reason to deny a client counsel of its choice. See Miccosukee Tribe of Indians

 of Fla. v. Cypress, 686 F. App’x 823, 825-26 (11th Cir. 2017); McGriff v. Christie, 477 F.

 App’x 673, 677-79 (11th Cir. 2012); Herrmann, 199 F. App’x at 747, 755-57.

         Once an ethical violation is found, courts apply a number of factors to

 determine whether to disqualify: “the nature of the ethical violation, the age of the

 action, the prejudice to the parties, the effectiveness of counsel in light of the violation,

 the public’s perception of the profession, and whether the attempt to disqualify is a

 tactical [device] or a means of harassment.” Chammami v. Acropolis Mediterranean Food

 Inc. et al., No. 8:19-cv-01459-CEH-SPF, 2020 WL 13119546, at *9 (M.D. Fla. Aug.

 18, 2020) (M. D. Fl., 2019) (citing Keane v. Jacksonville Police Fire & Pension Fund Board

 of Trustees, 2017 WL 4102302, at *5 (M.D. Fla. 2017)).
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 IV.         Analysis

     A. The Paul Hastings Attorneys’ conduct was an ethical violation under Rule
        4-1.7.

         Mr. Bondi, Mr. Wheatley, and Mr. Kats violated Rule 4-1.7 of the Florida Rules

 of Professional Conduct when they chose to represent SCTI against Coca-Cola. Their

 new firm, Paul Hastings, maintains open and active matters with Coca-Cola, matters

 that would have been revealed in any conflicts search. Rule 4-1.7 is unambiguous. A

 lawyer must not represent a client if the representation of one client is directly adverse

 to another client. Fla. R.P.C. 4-1.7(a)(1). These rules are in place to protect clients

 from lawyers seeking to benefit by playing both sides of the field for monetary or

 personal reasons. See Fla. R.P.C. 4-1.7 cmt. (“The lawyer’s own interests should not

 be permitted to have adverse effect on representation of a client.”).

         Compliance with Rule 4-1.7(b) prohibits Paul Hastings from representing SCTI

 unless Paul Hastings sought and received a waiver from Coca-Cola. This waiver can

 only come, as specified by the rule, after informed consent, which requires

 communication of “adequate information” and “explanation about the material risks

 of and reasonably available alternatives to the proposed course of conduct.” Fla.

 R.P.C. 4-1.7(b)(4); Fl. R.P.C. 4 (preamble). Not only was no adequate information or

 explanation of the material risk shared with Coca-Cola, Paul Hastings made no

 attempt to reach out to Coca-Cola to notify it of this conflict, provide information

 about the conflict, or propose any reasonable resolution. It was only after Coca-Cola

 independently learned of the conflict that Paul Hastings belatedly took the position

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 that Coca-Cola must waive the conflict or face the loss of the firm’s counsel in the

 middle of sensitive ongoing matters.

         Coca-Cola has not waived this conflict or given informed consent to Paul

 Hastings’ representation of SCTI.           Accordingly, Paul Hastings’ continued

 representation of SCTI is a conflict and an ethical violation.

             a. The purported advance waiver does not excuse the Paul Hastings
                Attorneys from their ethical obligation to comply with Rule 4-1.7.

         Understanding that they made a mistake in taking on the representation of SCTI

 without informing Coca-Cola of this conflict or seeking a waiver, Paul Hastings now

 contends that Coca-Cola gave “informed consent” through a 2021 engagement letter

 on a separate matter, which included an advance waiver provision buried in a

 boilerplate attachment to the letter. Their reliance on this provision is improper. As

 detailed below, case law in the Eleventh Circuit, in a nearly identical situation, found

 that such a waiver was unenforceable.

         In S. Visions, LLP v. Red Diamond, Inc., the court considered the enforceability

 of an advance waiver provision included in an attorney engagement letter. 370 F.

 Supp. 3d 1314 (N.D. Ala. 2019). There, a law firm represented a company in various

 matters. That same law firm then accepted representation in a large case against the

 company without consulting the company or requesting a waiver. Similar to Paul

 Hastings here, the law firm in Red Diamond relied on a broadly-worded advance waiver

 provision in a prior engagement letter to justify its representation in that case without

 a waiver. Red Diamond, 370 F. Supp. 3d at 1319.

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         The Red Diamond court found that the law firm could not satisfy its obligation

 to obtain informed consent from their client for the conflict under Alabama Rule of

 Professional Conduct 1.7(a) (a rule analogous to Florida Rule 4-1.7(a)) by relying on

 an advance waiver the client signed years ago in an unrelated matter. Id. at 1319. The

 court reasoned that if an advance waiver was truly intended to permit a law firm to

 later sue a current client on behalf of another, there must be “clear evidence of such

 intent.” Id. at 1326. In addition, the court explained that “a court will not lightly

 conclude that a client’s advance conflict waiver was truly intended to permit the law

 firm to later sue that current client on behalf of another,” and that “it is highly unlikely

 a client would knowingly and voluntarily consent in advance to such a conflict.” Id.

 at 1325-26. This was true even though the client was a “sophisticated consumer of

 legal services.” Id. at 1326. The Red Diamond court also held that even if the advance

 waiver were to constitute informed consent, the client had revoked that consent when

 its CEO asked the law firm not to accept the representation. Id. at 1321-22.

         Courts around the country have agreed with this approach, holding that

 general, open-ended advance waivers, like the one at issue here, do not provide

 “informed” consent because they do not provide the signer with adequate information

 to evaluate the conflict.    See, e.g., Worldspan, L.P. v. Sabre Grp. Holdings, Inc., 5

 F.Supp.2d 1356, 1360 (N.D. Ga. 1998) (a waiver allowing a lawyer to litigate against

 his own client must include “reference to specific parties, the circumstances under

 which such adverse representation would be undertaken, and all relevant like

 information.”); W. Sugar Coop. v. Archer-Daniels-Midland Co., 98 F.Supp.3d 1074, 1083-
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 84 (C.D. Cal. 2015) (holding ineffective an “open-ended” conflict waiver signed by a

 sophisticated client that: (1) purported to indefinitely waive conflicts in any matter not

 substantially related, and (2) did not identify a potentially adverse client, the types of

 potential conflicts, or the nature of the potential future representations); Lennar Mare

 Island, LLC v. Steadfast Ins. Co., 105 F. Supp. 3d 1100, 1118 (E.D. Cal. 2015) (advance

 waiver was unenforceable as it insufficiently disclosed the nature of a subsequent

 conflict). The American Bar Association has also commented on advance waivers,

 stating that “[i]f the consent is general and open-ended, then the consent ordinarily

 will be ineffective, because it is not reasonably likely that the client will have

 understood the material risks involved.” Informed Consent to Future Conflicts of Interest;

 Withdrawal of Formal Opinion 93-372, ABA Formal Op. 05-436. The Paul Hastings

 engagement letter is as “general and open-ended” as it gets, covering matters of all

 types, with no time limit. Ex. 3 at 9.

         Paul Hastings knew that Coca-Cola did not intend for every potential future

 conflict to be waived in perpetuity. Coca-Cola’s own outside counsel guidelines,

 which are provided on Coca-Cola’s billing platform for Paul Hastings and other

 vendors, expressly state that Coca-Cola does not grant advance waivers, and that it

 “insists upon full prior disclosure and prior written approval of any actual or potential

 conflict of interest.” Lewis Decl., Aff. A, ¶ 5. Under all these circumstances—and in

 a situation where Paul Hastings was being asked to sue its own, established client for

 $100 million with a direct stake in the outcome—it was unreasonable for Paul Hastings to

 conclude that no notice, detailed disclosure, or informed consent were required.
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             b. Paul Hastings’ representation of SCTI negatively impacts its
                relationship with Coca-Cola.

         Rule 4-1.7(a) prohibits an attorney from accepting adverse representation where

 there is a substantial risk the representation of one client will be materially limited by

 the lawyer’s responsibilities to another client. Fla. R.P.C. 4-1.7(a)(2). This is because

 “loyalty and independent judgment are essential elements in the lawyer’s relationship

 with a client.” Fla. R.P.C. 4-1.7 cmt. The standard under the Rules of Professional

 Conduct is whether a “disinterested lawyer would conclude that the client should not

 agree to the representation under the circumstances.” Fla. R.P.C. 4-1.7, cmt.

         Neither Paul Hastings nor the Paul Hastings Attorneys could have reasonably

 believed that the firm’s representation of SCTI would not adversely affect its attorney-

 client relationship with Coca-Cola, materially limiting Paul Hastings’ ability to

 represent the Company. This matter has an especially long and contentious history:

 SCTI approached Coca-Cola three separate times with three separate law firms over

 the last four years. After two years of silence, SCTI found its current lawyers to send

 Coca-Cola yet another inflammatory demand letter in 2022 and to file the present

 lawsuit in February 2023.       No attorney-client relationship could withstand the

 allegations in this case, allegations of “dishonest and deceptive practices,” and a lack

 of “integrity.”

         The pending case alleges damages of over $100 million. No disinterested

 lawyer would advise Coca-Cola to waive conflicts and allow Paul Hastings to pursue

 such a highly-charged, volatile case against it while simultaneously relying on Paul

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 Hastings to advocate on its behalf in sensitive matters. In fact, one of Paul Hastings’

 own partners told Coca-Cola that it should not grant a waiver, when discussing the issue

 with Coca-Cola’s in-house counsel. Lewis Decl., Aff. A, ¶ 7.

             c. Paul Hastings’ conduct violates the “hot potato” rule.

         The “hot potato rule,” adopted by Florida courts, dictates that “[a]ttorneys may

 not avoid [Rule 4-1.7] by taking on representation in which a conflict of interest

 already exists and then convert a current client into a former client by withdrawing

 from the client’s case.” Young v. Achenbauch, 136 So. 3d 575, 581 (Fla. 2014); see also

 Lanard Toys Ltd. V. Dolgencorp LLC, No. 3:15-CV-849-J-34PDB, 2016 WL 7326855, at

 *8 (M.D. Fla. Dec. 16, 2016). When Paul Hastings told its Coca-Cola relationship

 partner to close his matters for Coca-Cola if Coca-Cola would not grant a waiver, it

 violated the “hot potato rule.” Lewis Decl., Aff. A, ¶ 8. Firing Coca-Cola so it could

 take on a new representation against Coca-Cola on behalf of SCTI is an ethical

 violation. In Paul Hastings’ haste to ensure it could keep its new lateral attorneys’

 lawsuit, it violated its ethical obligations to Coca-Cola. While Paul Hastings’ General

 Counsel Mr. Pollack made no mention of this directive in his email communications,

 the directive was relayed to Coca-Cola, and a client should feel comfortable that its

 lawyers will not simply turn around and sue them when the opportunity for a larger

 payout arises.




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     B. The balance weighs in favor of disqualification of the Paul Hastings
        Attorneys in light of this continuing ethical violation.

         When considering whether disqualification for an ethical violation is

 warranted, courts apply a balancing test, weighing several factors, including, “the

 nature of the ethical violation, the age of the action, the prejudice to the parties, the

 effectiveness of counsel in light of the violation, the public’s perception of the

 profession, and whether the attempt to disqualify is a tactical or a means of

 harassment.” Chammami, 2020 WL 13119546, at *9. Each of these factors weigh in

 favor of disqualifying Paul Hastings and its lawyers.

         As an initial matter, Paul Hastings’ conduct after hearing that Coca-Cola would

 not grant a waiver of conflicts in this case is a direct violation the “hot potato rule.”

 A law firm cannot drop an existing client in order to avoid a conflict of interest

 dilemma regarding representation of a new client. See, e.g., Young, 136 So. 3d at 581.

         Paul Hastings belatedly attempts to justify its conduct by arguing that the

 previous engagement letter permits it to represent Coca-Cola in highly sensitive legal

 matters, while simultaneously suing Coca-Cola for $100 million. This is absurd.

 While Coca-Cola vehemently disagrees that the claims in this case have any merit

 whatsoever, should SCTI be successful, Paul Hastings stands to gain significant

 financial benefit from Coca-Cola’s loss. Because this appears to be a contingency case,

 Coca-Cola will effectively be making a payment directly to Paul Hastings if it loses.6


 6
    That this matter appears to have been taken by Paul Hastings on a contingency fee basis is not
 dispositive of the conflict. Even if a more traditional fee arrangement were in place, Paul Hastings
 would still be directly adverse to an existing client, and would still have a financial interest in this
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         Coca-Cola is in an especially precarious position as a result of Paul Hastings’

 conduct in this case. Paul Hastings represents Coca-Cola in delicate international

 human rights matters which have the potential to cause significant reputational harm

 to Coca-Cola if mishandled. But Paul Hastings now has a direct, vested financial

 interest in disparaging Coca-Cola’s reputation to support the inflammatory accusations

 made in SCTI’s Complaint. It is simply not possible to trust Paul Hastings to advocate

 effectively for Coca-Cola in the other matters it is handling given this blatant conflict

 of interest.

         This is especially true given the lack of judgment and candor Paul Hastings has

 shown in attempting to resolve this matter with Coca-Cola. Allowing Paul Hastings

 to unilaterally end its attorney-client relationship with Coca-Cola order to pursue this

 case—either by effectively forcing Coca-Cola to terminate the firm’s representation or

 by terminating the representation itself—will erode public trust in the profession.

 Chammami, 2020 WL 13119546, at *8 (disqualification is warranted where conduct

 “perpetuates the public perception of attorneys as self-interested to the detriment of

 their clients. This is no small factor.”). To state the obvious, this is not disqualification

 sought for “tactical” or harassing reasons. Id. at *9. The issue here goes to the very

 heart of the lawyer-client relationship, and the public’s expectation that lawyers are

 required to behave ethically. Moreover, this case is newly-filed and is in the earliest

 stages of litigation. This Court has not yet ruled on Coca-Cola’s initial motions, and


 continued litigation against an existing client, in what is certain to be a hotly contested and protracted
 dispute.
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 no discovery has yet been taken. The age of this case thus also weighs in Coca-Cola’s

 favor.

          Finally, SCTI will not be significantly prejudiced if Paul Hastings is

 disqualified.      The law firms of Cahill Gordon & Reindel LLP and McIntyre

 Thanasides filed the complaint against Coca-Cola in this case. If the Paul Hastings

 Attorneys are disqualified, SCTI will continue to be represented by partners Michael

 B. Weiss of Cahill Gordon and Paul Thanasides of McIntyre Thanasides. Mr. Weiss

 drafted SCTI’s 14-page demand letter to Coca-Cola before this litigation started, and

 clearly has deep familiarity with SCTI’s claims.

          In weighing the equities, the cause of the conflict weighs strongly in

 Coca-Cola’s favor.       Paul Hastings created this conflict by its own actions.   As

 emphasized in the Red Diamond decision, whether or not the law firm created the

 concurrent conflict by its own actions is an important factor in assessing the proper

 outcome.         Red Diamond, 370 F.Supp.3d at 1329, 1335, 1338.       Paul Hastings

 intentionally, and with full knowledge of its existing matters for Coca-Cola, chose to

 undertake the SCTI representation without seeking specific, informed consent from

 Coca-Cola, or consulting in any way with its long-time client. Paul Hastings’ conduct

 is egregious and would be insulting to any client. But more importantly, it violates

 Paul Hastings’ ethical duties to Coca-Cola.

  V.      Conclusion

          Coca-Cola respectfully requests that this Court exercise its discretion to

 disqualify the law firm of Paul Hastings LLP, Bradley Bondi, Michael D. Wheatley,
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 and Vitaliy Kats from representing SCTI in this case.

                            Local Rule 3.01(g) Certification

          Counsel for Defendant conferred with Counsel for Plaintiff regarding the

  relief sought in this motion, and Plaintiff opposes this motion.

                                         Respectfully submitted,
                                         /s/Anitra Raiford Clement
                                         Anitra Raiford Clement
                                         SHOOK, HARDY & BACON LLP
                                         100 N. Tampa St., Suite 2900
                                         Tampa, Florida 33602
                                         T: 813-202-7100 | F: 813-221-8837
                                         aclement@shb.com

                                         B. Trent Webb (Pro hac vice)
                                         John Garretson (Pro hac vice)
                                         SHOOK, HARDY & BACON LLP
                                         2555 Grand Blvd.
                                         Kansas City, MO 64108
                                         T: 816.474.6550 | F: 816.421.5547
                                         bwebb@shb.com
                                         jgarretson@shb.com

                                         Amelia Murray (Pro hac vice)
                                         SHOOK, HARDY & BACON LLP
                                         111 S. Wacker Dr., Suite 4700
                                         Chicago, IL 60606
                                         T: (312) 704-7700
                                         aemurray@shb.com

                                         Attorneys for The Coca-Cola Company




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                        AFFIDAVIT A
            Declaration of Jessica Lewis
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                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                             ORLANDO DIVISION


  SuperCooler Technologies, Inc.,

                            Plaintiff,

                       v.                       Case No. 6:23-cv-00187-CEM-RMN

  The Coca-Cola Company,

                            Defendant.


              DECLARATION OF JESSICA LEWIS IN SUPPORT OF
            THE COCA-COLA COMPANY’S MOTION TO DISQUALIFY

       I, Jessica Lewis, declare and state as follows:

       1.      I am a member in good standing of the bar of the State of Georgia and

 am admitted to practice before all courts in that state. I am in-house counsel for The

 Coca-Cola Company (“Coca-Cola”) and hold the position of Senior Legal Counsel,

 Head of Litigation.

       2.      I make this declaration in support of The Coca-Cola Company’s Motion

 to Disqualify the Paul Hastings Law Firm (“Paul Hastings”), Bradley Bondi, Michael

 D. Wheatley and Vitaliy Kats as counsel for Plaintiff SuperCooler Technologies, Inc.

 (“SCTI”).    I have knowledge of the matters set forth herein, either as a direct

 participant in the matters described, or in my capacity as one of the attorneys

 responsible for the handling of legal matters within The Coca-Cola Company.

       3.      Paul Hastings currently represents Coca-Cola on various matters. These


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 include sensitive international human rights matters of great importance to Coca-Cola.

 Paul Hastings is essential to the disposition of these matters.

       4.     Coca-Cola’s outside counsel guidelines are provided in its billing system

 for outside vendors, including Paul Hastings. Coca-Cola has received invoices for

 legal services from Paul Hastings as recently as the week of March 22, 2023.

       5.     Coca-Cola’s outside counsel guidelines state that the “Company does not

 grant advance waivers and insists upon full prior disclosure and prior written approval

 of any actual or potential conflict of interest, including (a) representation of any

 adverse party in any matter against the Company (including wholly and majority-

 owned subsidiaries), however unrelated it may seem,” and that “[i]n the limited

 circumstances in which waivers are granted, they must be first approved by the Chief

 Legal Officer & General Counsel or Chief Litigation Counsel.”

       6.     On March 27, 2023, I learned that two attorneys, Michael Wheatley and

 Vitaliy Kats, attorneys for SCTI in the above-captioned case, left Cahill Gordon &

 Reindel LLP to join Paul Hastings, and communicated to Coca-Cola’s counsel that

 they intended to continue their representation of SCTI at Paul Hastings.

       7.     On March 28, 2023, I emailed my primary contact at Paul Hastings, Jon

 Drimmer, to ask if we could speak. A true and correct copy of this email chain is

 attached hereto as Exhibit 1. When we spoke, it seemed that Mr. Drimmer was

 unaware of this conflict. I informed Mr. Drimmer that Coca-Cola would not be

 granting a waiver for this conflict. Mr. Drimmer agreed that Coca-Cola should not

 waive this conflict and rhetorically questioned, “why would you?”
                                             2
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       8.        Less than thirty minutes later, Mr. Drimmer asked me to call him. On

 this second call, Mr. Drimmer said he had spoken with the firm’s General Counsel,

 Mark Pollack, who told Mr. Drimmer that if that if Coca-Cola would not grant Paul

 Hastings a waiver, Mr. Drimmer should close all Coca-Cola matters. I expressed my

 dismay that Paul Hastings would effectively “fire” Coca-Cola, an existing client, to

 take on representation of SCTI. Mr. Drimmer also expressed his surprise and further

 noted his surprise that Paul Hastings would take on such a contingency-fee type case.

       9.        At 4:50 pm, I emailed Mr. Drimmer, confirming Coca-Cola’s position

 that no waiver was being granted and again requesting that Paul Hastings withdraw

 from representing SCTI in this case. Mr. Drimmer e-mailed me at 5:31 pm asking if I

 had time to discuss. A true and correct copy of this email chain is attached hereto as

 Exhibit 2.

       10.       When Mr. Drimmer and I spoke for the third time, he stated that Paul

 Hastings would be taking the position that Coca-Cola had already waived the present

 conflict, relying on a previous engagement letter from March 2021 that included an

 advance waiver provision. At my request, Mr. Drimmer provided a copy of the

 engagement letter. A true and correct copy of the engagement letter is attached hereto

 as Exhibit 3.

       11.       On March 31, I again confirmed to Mr. Drimmer that Coca-Cola does

 not consent to Paul Hastings’ representation of SCTI and asked again that Michael D.

 Wheatley and Vitaliy Kats withdraw from this case. Ex. 2.

       12.       I received an email response on March 31 from the General Counsel of
                                            3
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 Paul Hastings, Mark Pollack. A true and correct copy of the email is attached hereto

 as Exhibit 4.

       13.       On April 3, I was copied on an e-mail from Coca-Cola’s Senior Vice

 President, Monica Howard Douglas, to partners Sherrese Smith and William Whitner

 at Paul Hastings, copying Mark Pollack, expressing disappointment that Paul

 Hastings attorneys were representing SCTI in a lawsuit filed against Coca-Cola

 without a requested or granted waiver of conflicts. Coca-Cola again requested that

 the Paul Hastings attorneys withdraw from the lawsuit. A true and correct copy of the

 email chain is attached hereto as Exhibit 5.

       14.       On April 4, Mark Pollack responded to Monica Howard Douglas’ email,

 stating that Paul Hastings’ attorneys would not withdraw from this case. Ex. 5.




       I declare under penalty of perjury that the foregoing is true and correct. This

 declaration was executed within the United States on April 12, 2023.




                                                __________________
                                                Jessica Lewis




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                        AFFIDAVIT B
         Declaration of John Garretson
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                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                            ORLANDO DIVISION


  SuperCooler Technologies, Inc.,

                           Plaintiff,

                      v.                        Case No. 6:23-cv-00187-CEM-RMN

  The Coca-Cola Company,

                           Defendant.


         DECLARATION OF JOHN D. GARRETSON IN SUPPORT OF
         THE COCA-COLA COMPANY’S MOTION TO DISQUALIFY

       I, John D. Garretson, declare and state as follows:

       1.     I am a member in good standing of the Bar of the States of Missouri and

 New York, and I am admitted to practice before the U.S. District Courts for the

 Western District of Missouri, Eastern District of Missouri, District of Kansas, Eastern

 District of New York, and Southern District of New York. I am admitted before this

 court pro hac vice. I am a partner with the law firm Shook, Hardy & Bacon, LLP. I

 am outside counsel in this case representing the Defendant, The Coca-Cola Company

 (“Coca-Cola”).

       2.     I make this declaration in support of Coca-Cola’s Motion to Disqualify

 the Paul Hastings Law Firm (“Paul Hastings”), Bradley Bondi, Michael D. Wheatley

 and Vitaliy Kats as counsel for Plaintiff SuperCooler Technologies, Inc. (“SCTI”). I

 have knowledge of the matters set forth herein as a direct participant in the matters

 described. If called and sworn as a witness, I could and would competently testify to
                                            1
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 the matters I set forth below.

       3.     Plaintiff filed its Complaint against Coca-Cola on February 1, 2023. At

 that time, the Complaint reflected that Bradley Bondi, Michael D. Wheatley, and

 Vitaliy Kats all worked at the law firm of Cahill, Gordon & Reindel LLP.

       4.     On March 27, 2023 at 3:07pm Central Time, Vitaliy Kats contacted me

 by email to inform me that he and Michael Wheatley had changed law firms. Mr. Kats

 indicated that he and Mr. Wheatley intended to continue representation of SCTI at

 their new firm, Paul Hastings, and would file a corresponding notice with the Court.

 Mr. Kats also asked if Coca-Cola would oppose a motion for pro hac vice admission of

 Jeff Pade, a partner at Paul Hastings. A true and correct copy of this email is attached

 hereto as Exhibit 6.

       5.     On March 27, 2023 at 3:31pm Central Time, Mr. Wheatley and Mr. Kats

 filed a Notice of Change of Law Firm Affiliation with this Court, indicating their move

 to Paul Hastings. Doc. 28.

       6.     Upon receiving Mr. Kats’ email and the Notice of Change of Law Firm

 Affiliation, I informed in-house counsel at Coca-Cola. On March 27, 2023 at 8:26pm

 Central Time, I replied to Mr. Kats by email, stating that I was not authorized to

 consent to the motion to admit Jeff Pade pro hac vice, and that there might be an issue

 regarding Paul Hastings’ representation of SCTI. A true and correct copy of this email

 is attached hereto as Exhibit 7.

       7.     On March 28, 2023, I participated in a meet-and-confer teleconference

 with counsel for SCTI, along with Anitra Clement and Amelia Murray of Shook,
                                            2
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 Hardy & Bacon. Mr. Kats and Mr. Wheatley joined the call. I informed counsel for

 SCTI that because there was an active conflict of interest between Paul Hastings and

 Coca-Cola, I could not proceed with the meet-and-confer with Mr. Wheatley and Mr.

 Kats on the line. Mr. Kats and Mr. Wheatley then left the call. The meet-and-confer

 continued with Bradley Bondi and Paul Thanasides representing SCTI.

       8.     I and other lawyers representing Coca-Cola at Shook, Hardy & Bacon

 continued to communicate with Mr. Bondi and Mr. Thanasides throughout the week

 of March 26 regarding this case, in connection with the parties’ Joint Case

 Management Report filed on March 29, 2023, as well as other filings by Coca-Cola

 that week. At no time during these interactions did counsel for SCTI disclose that Mr.

 Bondi was in the process of joining, or had joined, Paul Hastings.

       9.     Late on April 3, 2023, I learned through public reporting by Law360 that

 Mr. Bondi had also joined the firm of Paul Hastings. A true and correct copy of

 Rodgers, Jack, Paul Hastings Adds Cahill Gordon Atty to White Collar Group, LAW360,

 April 3rd, 2023 is attached hereto as Exhibit 8.



       I declare under penalty of perjury that the foregoing is true and correct. This

 declaration was executed within the United States on April 12, 2023.




                                                 ___________________________________


                                                 John D. Garretson


                                             3
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                           Exhibit 1
     Case 6:23-cv-00187-CEM-RMN Document 39 Filed 04/12/23 Page 31 of 61 PageID 206


Jessica Lewis

From:                             Drimmer, Jon <jondrimmer@paulhastings.com>
Sent:                             Tuesday, March 28, 2023 12:13 PM
To:                               Jessica Lewis
Subject:                          Re: Quick Call This Morning?


Have a minute?

Sent from my iPhone

> On Mar 28, 2023, at 10:47 AM, Jessica Lewis <jeslewis@coca-cola.com> wrote:
>
>
>
>
>
> --- External Email ---
>
>
>
>
>
>
> Oh wow! Sorry to interrupt. I've got an 11 and will call you right after.
>
>
>
>
> Classified - Confidential
>
> -----Original Message-----
> From: Drimmer, Jon <jondrimmer@paulhastings.com>
> Sent: Tuesday, March 28, 2023 10:45 AM
> To: Jessica Lewis <jeslewis@coca-cola.com>
> Subject: Re: Quick Call This Morning?
>
> ATTENTION: This email was sent from outside the company. Do not click links or open files unless you know it is safe.
Forward malicious emails to phish@coca-cola.com.
>
>
> Sure. I’m at the US summit for democracy but can step out at any time.
>
> Sent from my iPhone
>
> On Mar 28, 2023, at 10:43 AM, Jessica Lewis <jeslewis@coca-cola.com> wrote:
>
>
>
> --- External Email ---

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> Hi Jon. Do you have time for a quick call on a conflicts/administrative question?
>
> Thanks,
>
> Jessica
>
> <image001.png>
>
>
>
> Classified - Confidential
>
> ________________________________
>
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                           Exhibit 2
       Case 6:23-cv-00187-CEM-RMN Document 39 Filed 04/12/23 Page 34 of 61 PageID 209


Jessica Lewis

From:                              Jessica Lewis
Sent:                              Friday, March 31, 2023 3:05 PM
To:                                Drimmer, Jon
Subject:                           RE: Conflicts Issue


Jon,

Thank you for forwarding the engagement letter. As we discussed on our last phone call, Paul Hastings’ involvement in
the SuperCooler lawsuit is an active conflict. Your firm did not consult with The Coca-Cola Company beforehand, and no
waiver was requested or granted. The Company expressly rejects any contention that an engagement letter from two
years ago, on an unrelated issue and containing no specific client or subject matter information as to potential future
conflicts, constitutes informed consent, consultation, or waiver under the applicable law and rules of professional
conduct.

To be clear, the Company does not consent and has never consented to your firm pursuing a purported nine-figure
lawsuit against the Company, its current client, on behalf of SuperCooler. This is supported by the Rules Regulating the
Florida Bar.

Please confirm in writing by April 4 that Paul Hastings will withdraw from the SuperCooler case. If Paul Hastings will not
withdraw, the Company will file a motion with the Court to disqualify Mr. Kats, Mr. Wheatley, and Paul Hastings. The
Motion will detail how we arrived at this conflict situation and the lack of notice and care that was taken in this
matter. We are extremely disappointed that Paul Hastings has put the Company in this position.

Sincerely,

Jessica




                                                   Classified - Confidential
From: Drimmer, Jon
Sent: Tuesday, March 28, 2023 5:31 PM
To: Jessica Lewis <jeslewis@coca-cola.com>
Subject: RE: [EXT] Conflicts Issue

Jessica, the engagement letter is attached, per your request.


                                                              1
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From: Drimmer, Jon <jondrimmer@paulhastings.com>
Sent: Tuesday, March 28, 2023 5:06 PM
To: Jessica Lewis <jeslewis@coca-cola.com>
Subject: Re: [EXT] Conflicts Issue

Have a minute to discuss?

Sent from my iPhone


         On Mar 28, 2023, at 4:50 PM, Jessica Lewis <jeslewis@coca-cola.com> wrote:




         --- External Email ---

         Hi Jon. We learned late yesterday that Paul Hastings has lateraled two attorneys from Cahill, Gordon &
         Reindel, Vitaliy Kats and Michael Wheatley. Mr. Kats and Mr. Wheatley are currently representing a
         client in a matter that is adverse to The Coca-Cola Company (SuperCooler Technologies Inc. v. The Coca-
         Cola Company, Case No. 6:23-cv-00187 (M.D. Fla.)).

         We learned today that both Mr. Kats and Mr. Wheatley have filed a Notice of Change of Law Firm
         Affiliation and are on the docket for the SuperCooler matter. As you know, Paul Hastings is actively
         representing TCCC in a number of matters and is essential to us in those matters. We consider Paul
         Hastings involvement in the SuperCooler lawsuit an active conflict where no waiver has been requested
         or granted. We ask that Paul Hastings withdraw from this matter and that Mr. Kats and Mr. Wheatly
         withdraw immediately.

         Sincerely,

         Jessica

         <image001.png>


                                                                    Classified - Confidential



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                           Exhibit 3
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                           Exhibit 4
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Jessica Lewis

From:                                    Pollack, Mark D. <markpollack@paulhastings.com>
Sent:                                    Friday, March 31, 2023 3:11 PM
To:                                      Jessica Lewis
Subject:                                 SuperCooler Matter
Attachments:                             48655-00002_Coca-Cola Company, The EL.pdf


ATTENTION: This email was sent from outside the company. Do not click links or open files unless you know it is safe. Forward malicious emails to
phish@coca-cola.com.



Dear Jessica:

I am the General Counsel of Paul Hastings and am writing in response to the below email you sent to my partner Jon
Drimmer earlier this week. I understand that, after receiving your email, Jon sent you the attached engagement letter
dated March 30, 2021, counter-signed and accepted by Derek Gilliam of Coca-Cola’s legal department on April 2, 2021,
which letter set forth and appended the terms and conditions governing our relationship. Contrary to your assertion
below, the terms and conditions of our engagement letter expressly included an advance conflicts waiver, which we
request of all new clients, and on which we specifically relied in accepting the opportunity to represent Coca-Cola. That
waiver authorizes Paul Hastings to undertake future engagements adverse to Coca-Cola provided the prospective
engagement is not substantially related to any of the matters in which we have represented Coca-Cola and each of three
enumerated conditions are satisfied. Because each of the stated conditions are satisfied with respect to our
representation of SuperCooler, there is no basis for your demand that the Firm immediately withdraw from further
involvement in the matter. Prior to undertaking the SuperCooler engagement, we evaluated the nature of the work
performed for Coca-Cola and confidently determined that the matters at issue in the SuperCooler litigation are not
substantially related to any of the work we have performed for Coca-Cola. We likewise considered and concluded that
our undertaking the SuperCooler engagement would not prejudice or impair our ability to continue to effectively
represent Coca-Cola in unrelated matters by a separate team of lawyers. Furthermore, consistent with the terms of the
agreed waiver, we have timely taken steps to protect confidential information and, in that regard, have implemented
ethical walls to screen all lawyers who have worked for Coca-Cola from any of those working for SuperCooler, and vice
versa. Lastly, we have obtained a reciprocal waiver from SuperCooler consenting to and waiving potential conflicts of
interest. Because we have proceeded in strict conformance with the terms of our engagement letter and the advance
waiver contained therein to which Coca-Cola expressly agreed, we see no basis to withdraw from the SuperCooler
engagement and reject your demand that we do so.

We are hopeful that Coca-Cola will re-evaluate its unwarranted demand that we immediately withdraw from our
representation of SuperCooler and agree to abide by the consent and waiver it expressly agreed to in the attached
engagement letter. We remain willing to continue to provide service to Coca-Cola, provided of course that Coca-Cola
desires that we do so and is willing to honor the waiver to which it agreed. Our engagement letter further provides that
if, for any reason your consent and waiver are ineffective in a specific circumstance, you consent to our resignation of
our representation in a manner consistent with our professional obligations. Although we hope to avoid doing so, if that
is your preference we are prepared to resign from any pending engagements and work with you to ensure an orderly
transition of such matters at no cost to Coca-Cola and in a manner that is fully consistent with our professional
obligations.

Should you have any questions regarding the matters addressed herein, please direct them to my attention.


Very truly yours,

                                                                        1
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Mark Pollack




                          Mark Pollack | General Counsel
                          Paul Hastings LLP | 71 S. Wacker Drive, Forty-Fifth Floor, Chicago, IL 60606 | Direct:
                          +1.312.499.6050 | Main: +1.312.499.6000 | Fax: +1.312.499.6150 |
                          markpollack@paulhastings.com | www.paulhastings.com




       From: Jessica Lewis <jeslewis@coca-cola.com>
       Date: March 28, 2023 at 4:50:31 PM EDT
       To: "Drimmer, Jon" <jondrimmer@paulhastings.com>
       Subject: [EXT] Conflicts Issue




       --- External Email ---

       Hi Jon. We learned late yesterday that Paul Hastings has lateraled two attorneys from Cahill, Gordon &
       Reindel, Vitaliy Kats and Michael Wheatley. Mr. Kats and Mr. Wheatley are currently representing a
       client in a matter that is adverse to The Coca-Cola Company (SuperCooler Technologies Inc. v. The Coca-
       Cola Company, Case No. 6:23-cv-00187 (M.D. Fla.)).

       We learned today that both Mr. Kats and Mr. Wheatley have filed a Notice of Change of Law Firm
       Affiliation and are on the docket for the SuperCooler matter. As you know, Paul Hastings is actively
       representing TCCC in a number of matters and is essential to us in those matters. We consider Paul
       Hastings involvement in the SuperCooler lawsuit an active conflict where no waiver has been requested
       or granted. We ask that Paul Hastings withdraw from this matter and that Mr. Kats and Mr. Wheatly
       withdraw immediately.

       Sincerely,

       Jessica




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                           Exhibit 5
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Jessica Lewis

From:                                    Pollack, Mark D. <markpollack@paulhastings.com>
Sent:                                    Tuesday, April 4, 2023 6:10 PM
To:                                      Monica Howard Douglas
Cc:                                      Jessica Lewis
Subject:                                 RE: FW: Conflicts Issue


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phish@coca-cola.com.



Dear Monica—thank you for copying me on your note to Sherrese and K. I wanted to respond on
behalf of the Firm. As an initial matter, I can assure you that we evaluated this circumstance with
care to ensure that we fulfill all of our obligations to Coca-Cola under the governing ethical rules and
applicable law.

For the reasons set forth in my email to Jessica last Friday, we believe that our role in the
SuperCooler matter fully accords with the terms of the advance conflicts waiver granted by Coca-Cola
in the engagement letter that governs our attorney-client relationship. To the extent you or Jessica
have questions regarding any of the steps we have taken as described in my earlier note, please
direct them to my attention.

We remain hopeful that Coca-Cola will re-evaluate its demand that we withdraw from our
representation of SuperCooler, which we continue to believe is unwarranted.


From: Monica Howard Douglas <mhowarddouglas@coca-cola.com>
Sent: Monday, April 3, 2023 3:32 PM
To: Whitner, William K. <kwhitner@paulhastings.com>; Smith, Sherrese M. <sherresesmith@paulhastings.com>
Cc: Pollack, Mark D. <markpollack@paulhastings.com>; Jessica Lewis <jeslewis@coca-cola.com>
Subject: [EXT] FW: Conflicts Issue


--- External Email ---



   Some people who received this message don't often get email from mhowarddouglas@coca-cola.com. Learn why this is important

Sherrese & K,

My colleague, Jessica Lewis, forwarded the below message related to a conflicts situation that arose when two lawyers,
Vitaliy Kats and Michael Wheatley from Cahill, Gordon & Reindel, joined Paul Hastings. While at Cahill, Mr. Kats and Mr.
Wheatley represented SuperCooler in a lawsuit filed against Coca-Cola. We learned last week that Mr. Kats and Mr.
Wheatley, now attorneys at Paul Hastings, intend to continue their representation of SuperCooler against Coca-Cola.

I wanted to make sure you were aware of this troubling issue and to share my extreme disappointment that the firm
would even consider suing Coca-Cola at the same time that it is actively handling matters on our behalf. As Jessica

                                                                        1
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notes, we were not consulted beforehand and no waiver of this conflict has been requested or granted. We are hopeful
that Paul Hastings will carefully consider this matter and withdraw from its adverse representation against Coca-Cola.

Sincerely,

Monica

Monica Howard Douglas
SVP & General Counsel
The Coca-Cola Company
mhowarddouglas@coca-cola.com
(470) 925-9227


Begin forwarded message:

         From: Jessica Lewis <jeslewis@coca-cola.com>
         Date: March 31, 2023 at 3:04:54 PM EDT
         To: "Drimmer, Jon" <jondrimmer@paulhastings.com>
         Subject: RE: Conflicts Issue


         Jon,

         Thank you for forwarding the engagement letter. As we discussed on our last phone call, Paul Hastings’
         involvement in the SuperCooler lawsuit is an active conflict. Your firm did not consult with The Coca-
         Cola Company beforehand, and no waiver was requested or granted. The Company expressly rejects any
         contention that an engagement letter from two years ago, on an unrelated issue and containing no
         specific client or subject matter information as to potential future conflicts, constitutes informed
         consent, consultation, or waiver under the applicable law and rules of professional conduct.

         To be clear, the Company does not consent and has never consented to your firm pursuing a purported
         nine-figure lawsuit against the Company, its current client, on behalf of SuperCooler. This is supported
         by the Rules Regulating the Florida Bar.

         Please confirm in writing by April 4 that Paul Hastings will withdraw from the SuperCooler case. If Paul
         Hastings will not withdraw, the Company will file a motion with the Court to disqualify Mr. Kats, Mr.
         Wheatley, and Paul Hastings. The Motion will detail how we arrived at this conflict situation and the lack
         of notice and care that was taken in this matter. We are extremely disappointed that Paul Hastings has
         put the Company in this position.

         Sincerely,

         Jessica




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 From: Drimmer, Jon
 Sent: Tuesday, March 28, 2023 5:31 PM
 To: Jessica Lewis <jeslewis@coca-cola.com>
 Subject: RE: [EXT] Conflicts Issue

 Jessica, the engagement letter is attached, per your request.

 From: Drimmer, Jon <jondrimmer@paulhastings.com>
 Sent: Tuesday, March 28, 2023 5:06 PM
 To: Jessica Lewis <jeslewis@coca-cola.com>
 Subject: Re: [EXT] Conflicts Issue

 Have a minute to discuss?

 Sent from my iPhone


         On Mar 28, 2023, at 4:50 PM, Jessica Lewis <jeslewis@coca-cola.com> wrote:



         --- External Email ---

         Hi Jon. We learned late yesterday that Paul Hastings has lateraled two attorneys from
         Cahill, Gordon & Reindel, Vitaliy Kats and Michael Wheatley. Mr. Kats and Mr. Wheatley
         are currently representing a client in a matter that is adverse to The Coca-Cola Company
         (SuperCooler Technologies Inc. v. The Coca-Cola Company, Case No. 6:23-cv-00187
         (M.D. Fla.)).

         We learned today that both Mr. Kats and Mr. Wheatley have filed a Notice of Change of
         Law Firm Affiliation and are on the docket for the SuperCooler matter. As you know,
         Paul Hastings is actively representing TCCC in a number of matters and is essential to us
         in those matters. We consider Paul Hastings involvement in the SuperCooler lawsuit an
         active conflict where no waiver has been requested or granted. We ask that Paul
         Hastings withdraw from this matter and that Mr. Kats and Mr. Wheatly withdraw
         immediately.

         Sincerely,


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                      Jessica

                      <image001.png>


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                           Exhibit 6
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Garretson, John D. (SHB)

From:                                   Kats, Vitaliy <vitaliykats@paulhastings.com>
Sent:                                   Monday, March 27, 2023 3:07 PM
To:                                     Garretson, John D. (SHB); Webb, Trent (SHB); Clement, Anitra (SHB); Murray, Emma
                                        (SHB)
Cc:                                     Bondi, Bradley J.; Pade, Jeff A.; paul@mcintyrefirm.com; Wheatley, Michael D.
Subject:                                SuperCooler v. Coca-Cola - Notice of Law Firm Change and PHV Motion


EXTERNAL

John:

I am writing to let you know that Michael Wheatley and I are now at Paul Hastings. Our contact information on ECF
should already have been updated, and we will file a Notice of Change of Law Firm Affiliation later today. We plan to
continue working on this matter, with Brad as lead counsel at Cahill.

I am also writing to ask if you would oppose a separate motion for pro hac vice admission by Jeff Pade from Paul
Hastings (cc’ed). Please let me know as soon as possible.




                                 Vitaliy Kats | Associate
                                 Paul Hastings LLP | 2050 M Street NW, Washington, DC 20036 | Direct: +1.202.551.1703
                                 |   Main: +1.202.551.1700 | Fax: +1.202.551.0203 | vitaliykats@paulhastings.com |
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                           Exhibit 7
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Garretson, John D. (SHB)

From:                                     Garretson, John D. (SHB)
Sent:                                     Monday, March 27, 2023 8:26 PM
To:                                       Kats, Vitaliy
Cc:                                       Webb, Trent (SHB); Clement, Anitra (SHB); Murray, Emma (SHB); Bondi, Bradley J.; Pade,
                                          Jeff A.; Paul@mcintyrefirm.com; Wheatley, Michael D.
Subject:                                  Re: SuperCooler v. Coca-Cola - Notice of Law Firm Change and PHV Motion


Vitaliy,

Thanks for reaching out. We are consulting with our client on the pro hac/representation question. We understand
there may be an issue regarding Paul Hastings, and I am not authorized to consent at this time. I should know more
tomorrow.

Thanks,
John



           On Mar 27, 2023, at 3:07 PM, Kats, Vitaliy <vitaliykats@paulhastings.com> wrote:



           EXTERNAL

           John:

           I am writing to let you know that Michael Wheatley and I are now at Paul Hastings. Our contact
           information on ECF should already have been updated, and we will file a Notice of Change of Law Firm
           Affiliation later today. We plan to continue working on this matter, with Brad as lead counsel at Cahill.

           I am also writing to ask if you would oppose a separate motion for pro hac vice admission by Jeff Pade
           from Paul Hastings (cc’ed). Please let me know as soon as possible.




                                               Vitaliy Kats | Associate
                                               Paul Hastings LLP | 2050 M Street NW, Washington, DC 20036 | Direct: +1.202.
           <image001.png>                      |   Main: +1.202.551.1700 | Fax: +1.202.551.0203 | vitaliykats@paulhastings
                                               www.paulhastings.com




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                           Exhibit 8
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   Paul Hastings Adds Cahill Gordon Atty To White Collar
   Group
   By Jack Rodgers

   Law360 (April 3, 2023, 1:58 PM EDT) -- Paul Hastings LLP has tapped the
   former white collar and government investigations group chair from Cahill
   Gordon & Reindel LLP to be co-chair of its investigations and white collar
   defense practice, the firm announced Monday.

   Brad Bondi is also joining as a litigation partner and will be based in the
   firm's Washington, D.C., office. He said in a statement that Paul Hastings'
   continued growth hadn't gone unnoticed to his industry colleagues and
   that he was excited to join the firm.

   Bondi's practice focuses on representing corporations, financial
   institutions, boards of directors, special committees and other clients in
   civil and criminal securities and financial law investigations, the firm
   said. For the past eight years he has been a partner at Cahill Gordon and
   leader of its white collar and government investigations group, according                          Brad Bondi
   to his LinkedIn profile.

   His other work involves counseling clients on corporate governance issues, white collar criminal
   defense and U.S. Securities and Exchange Commission investigations. To assist his clients, Bondi
   drew on his experience from having worked as an SEC counsel to two former commissioners. While
   at the SEC, Bondi handled enforcement actions and regulatory rulemaking, the firm said.

   In an email to Law360 Pulse on Monday, Bondi said that there was "undeniable, unrivaled momentum
   at Paul Hastings," and that he was impressed with the firm's talent and diverse range of practice
   groups.

   "There is an entrepreneurial spirit and energy at Paul Hastings that I knew would be a good fit for me
   and for my clients," he said. "The firm's investigations and white collar defense practice, which
   includes SEC enforcement in particular, is an exceptional group that I look forward to helping direct
   and co-lead."

   Bondi has been featured by Law360 as an MVP for his work in civil and criminal white collar law
   disputes. A Georgetown University Law Center graduate, Bondi spent several years in private
   practice, working for Williams & Connolly LLP and Kirkland & Ellis LLP, before moving to a
   government position in 2009 with the Financial Crisis Inquiry Commission, according to his LinkedIn
   profile.

   Before joining Cahill Gordon, Bondi worked as a partner and led the securities enforcement and
   investigations practice at Cadwalader Wickersham & Taft LLP, according to his LinkedIn profile.

   Bondi said he most enjoyed helping convince the government of his clients' innocence, or to close an
   investigation and dismiss lawsuits against them.

   "When a company or individual is faced with a [U.S. Department of Justice] or SEC investigation or a
   significant lawsuit, it can be an existential threat to the client's business, reputation and livelihood,"
   he said. "It is an important responsibility that my team and I take very seriously."
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   Frank Lopez, Paul Hastings' chairman, said in a statement that Bondi's practice was nationally
   recognized in the white collar and investigations space.

   "His public and private sector experience augments our premier team's ability to advise clients in
   their most critical disputes and important matters," he said.

   In addition to his more than 20 years of experience working on white collar issues, Bondi has also
   taught at the college level, lecturing on issues related to securities regulation, according to his
   LinkedIn profile.

   He has more than 14 years of experience working as an adjunct professor at both George Mason
   University's Antonin Scalia Law School and Georgetown University Law Center, and previously was an
   adjunct professor at Catholic University of America's Columbus School of Law. Bondi additionally
   works as a part-time visiting clinical professor at Yale Law School, according to his LinkedIn profile.

   --Editing by Lakshna Mehta.


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